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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
 2   charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
 3   davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
 4   melissabaily@quinnemanuel.com
     John Neukom (Bar No. 275887)
 5   johnneukom@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
 6   jordanjaffe@quinnemanuel.com
   50 California Street, 22nd Floor
 7 San Francisco, California 94111-4788
   Telephone:     (415) 875-6600
 8 Facsimile:     (415) 875-6700

 9 Attorneys for WAYMO LLC

10                               UNITED STATES DISTRICT COURT

11              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12 WAYMO LLC,                                      CASE NO. 3:17-cv-00939-WHA

13                 Plaintiff,                      DECLARATION OF ANDREA PALLIOS
                                                   ROBERTS IN SUPPORT OF PLAINTIFF
14        vs.                                      WAYMO LLC’S ADMINISTRATIVE
                                                   MOTION TO FILE UNDER SEAL ITS
15 UBER TECHNOLOGIES, INC.;                        RESPONSE TO COURT INQUIRY RE
   OTTOMOTTO LLC; OTTO TRUCKING                    UBER’S FAILURE TO PRODUCE
16 LLC,                                            JACOBS LETTER AND EMAIL
17                 Defendants.

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                                                                       CASE NO. 3:17-cv-00939-WHA
                                     ROBERTS DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2327-1 Filed 12/04/17 Page 2 of 3




 1 I, Andrea Pallios Roberts, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to
 3 practice before this Court. I am an attorney at the law firm Quinn Emanuel Urquhart & Sullivan, LLP,
 4 counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set forth
 5 in this Declaration, and if called as a witness I would testify competently to those matters.
 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under
 7 Seal information in its Response To Court Inquiry Regarding Uber’s Failure To Produce Jacobs Letter
 8 And Email (the “Administrative Motion”). The Administrative Motion seeks an order sealing the
 9 following materials:
10                        Document                     Portions to Be Filed Designating Party
                                                           Under Seal
11      Waymo’s Response                               Highlighted in blue  Defendants
12      Exhibit 1 of Waymo’s Response                  Highlighted in blue      Defendants (blue);
                                                       and green                Waymo (green)
13      Exhibit 2 of Waymo’s Response                  Highlighted in green     Waymo
14      Exhibit 5 of Waymo’s Response                  Entire document          Waymo
15      Exhibit 7 of Waymo’s Response                  Entire document          Waymo &
                                                                                Defendants
16      Exhibit 8 of Waymo’s Response                  Entire document          Defendants
17
            3.      Waymo’s Response contains or refers to trade secret and confidential business
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     information, which Waymo seeks to seal. Specifically, Exhibits 1, 2, 5 and 7 identified by Waymo in
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     the table above contain key terms and other information related to Waymo’s trade secrets and
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     confidential business information. The documents and highlighted portions listed above describe
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     information relating to the technical specifications and designs of Waymo’s trade secrets. I
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     understand that these trade secrets are maintained as secret by Waymo (Dkt. 25-47) and are valuable
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     as trade secrets to Waymo’s business (Dkt. 25-31). The public disclosure of this information would
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     give Waymo’s competitors access to information relating to the functionality of Waymo’s
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     autonomous vehicle system. The documents and highlighted portions listed above also divulge
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     confidential business information. If such information were made public, I understand that Waymo’s
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                                                    -2-                   CASE NO. 3:17-cv-00939-WHA
                                        ROBERTS DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1 competitive standing would be significantly harmed. Waymo’s request to seal is narrowly tailored to

 2 only the confidential information.
 3          4.      Waymo’s Response and Exhibits 1, 7, and 8 thereto contain information that
 4 Defendants have designated as confidential and/or highly confidential.
 5          5.      Waymo takes no position on the merits of sealing the material designated by
 6 Defendants, and expects Defendants to file one or more declarations in accordance with the Local
 7 Rules.
 8          I declare under penalty of perjury under the laws of the State of California that the foregoing is
 9 true and correct, and that this declaration was executed in San Francisco, California, on December 4,
10 2017.
11                                                  By /s/ Andrea Pallios Roberts
                                                       Andrea Pallios Roberts
12                                                     Attorneys for WAYMO LLC
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14
                                       SIGNATURE ATTESTATION
15
            Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
16
     filing of this document has been obtained from Andrea Pallios Roberts.
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18                                                 /s/ Charles K. Verhoeven
19                                                   Charles K. Verhoeven

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                                         ROBERTS DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
